SO MANY ADVANCEMENTS THEY COULDN’T FIT—AGAIN! SEE ACCOMPANYING ADVANCEMENT EDITION!
Case 8:20-cv-01743-KKM-TGW         Document 1-5         Filed 07/28/20      Page 1 of 15 PageID 99

                                                                                 JULY 2020 | USA




   L E ADE R SH I P   |   B U I L D I N G    YO U R     B U S I N E S S      |
                                                                                     IN ACTION




                                                                        2020
                                                                 Marketing Executives
                                                                     of the Year
                                                                 N AT I O N A L D I R E C T O R S 9
                                                                         A R T & K I M B E R LY
                                                                             MCCAULEY




E N H A N C I N G   T H E   L I V ES   O F   T H OS E    W E   T O U C H®             Melaleuca.com/LIA
     Case 8:20-cv-01743-KKM-TGW                      EXHIBIT
                                                  Document 1-54 - PART  A
                                                                  Filed 07/28/20            Page 2 of 15 PageID 100




                                              Total Wellness—
                                              a Concept of
                                              Happiness
                                              A MESSAGE FROM CEO FRANK VANDERSLOOT



As Melaleuca grows, it becomes                exaggeration and without hype. In their        With the Peak Performance Pack, we
increasingly more evident that we have        simplest and most basic form, many        have the opportunity to make a bigger
only scratched the surface as to what our     of these stories are awe-inspiring and    impact on the health of our customers
true potential is in regard to changing       nothing short of phenomenal.              than ever before. And, as you hear what
people’s lives or, more accurately stated,         As our product line has developed    is happening in people’s lives, it is
helping people change their own lives.        and improved over the years, we have      difficult not to be impressed. In most
     On almost a daily basis, I hear                                                    instances, hearing of others’ success
the statement, “Melaleuca has really                                                    inspires healthy activities by those who
changed my life.” I know what they                As human beings,                      want to achieve the same success. That
mean and I love hearing the stories of            we are all seeking                    is usually a good thing, as long as we
how their lives have changed, but in                                                    learn to maintain balance in our lives.
                                                     happiness and
truth, Melaleuca has never changed                                                           As the financial achievements
anyone’s life. At best, we have created an         fulfillment in our                   of our most successful leaders have
environment where people have been                 lives. It’s strange                  become known to others, we have
able to change their own lives. And it               where we look                      become aware that the financial success
truly is a wonderful thing to be a part of.          for happiness                      of these leaders has become almost
     It’s because of the many changes in                                                overwhelming for some to contemplate
                                                  sometimes. Often,
lives that we hear about on a consistent                                                and to seek after. Focusing solely
basis that we decided to start calling                people find                       on financial success is where we
ourselves Melaleuca: The Wellness                   destruction and                     believe that things can quickly get
Company®. First, because of all the                 despair exactly                     out of balance.
stories we hear about how our products           where they expected                         As human beings, we are all
have helped people improve their health                                                 seeking happiness and fulfillment
                                                  to find happiness.
and live longer and more vibrant lives.                                                 in our lives. It’s strange where we
And second, because of the financial                                                    look for happiness sometimes. Often,
prosperity that comes from building and       observed stories of improvements          people find destruction and despair
growing a Melaleuca business.                 in both physical health and financial     exactly where they expected to find
     It’s important that as these stories     wealth. And those stories are becoming    happiness. I feel society often sends
are told, that they be told without           more and more exciting and impressive     us seeking happiness in the wrong




2   JULY 2020 | MELALEUCA.COM
    Case 8:20-cv-01743-KKM-TGW                      Document 1-5            Filed 07/28/20         Page 3 of 15 PageID 101




places. Sex, popularity, celebrities,           world’s best products that have a wide         only part of the picture. True happiness
movie stars, skinny bodies, fancy               appeal to customers, and it’s these            comes from achieving total wellness—
clothes, big houses, alcohol, money,            customers’ purchases that create the           wellness in all aspects of our lives,
personal possessions, and riches are all        world’s best opportunity to make               including physical wellness, personal
things that society leads us to believe         money. But you will not find happiness         wellness, environmental wellness, and
that if we had them or could become             from the financial opportunity unless          financial wellness. Our relationships
them, we would be immensely happy.              you develop the other areas of wellness        with our family and our friends deserve
Deep inside, we know those concepts             in your life.” That’ why Melaleuca             a substantial investment of time
and messages are false, yet we still            advocates “total wellness.” That means         and effort as well as our intellectual,
seek after those things. It’s weird but         wellness in every aspect of your life.         emotional, and physical development.
undeniably true. We seek happiness                   It’s been my experience that we find      It’s a lot to deal with, but with society
in places we know we will not find it!          true happiness only as it relates to our       sending us to seek happiness where we
     It’s the money or “riches” part            own inner growth. We find happiness in         will never find it, we all need a reminder
of this scenario that I feel is our             gaining knowledge and learning. And            once in a while.
responsibility to address. Because the          we find happiness in creating things                 I anticipate that as our financial
financial opportunity that we provide           and making a contribution to others.           success continues to grow beyond our
is so immensely successful for so many,         In truth, we gain a lot more from giving       expectations, we will continually need to
I think we need to stop a minute and            than receiving. So when society tells          remind ourselves where happiness really
remind ourselves and everyone around            people that they will find happiness by        comes from. Perhaps a reminder once in
us that money will not make us happy,           achieving prosperity, and they learn           a while will help keep us in balance.
nor will it fix all of our problems. In fact,   that the most sure and successful way
having a lot of money will only create          to prosperity is Melaleuca, I feel it is our
more problems if we are not careful.            responsibility to not deceive them into        Sincerely,
     True happiness, peace of mind,             thinking they will find happiness
and joy come from other things besides          in prosperity by itself.
money. I do not want to downplay                     We can indeed help them with
the benefits of prosperity. Prosperity          prosperity, and prosperity will help with
brings a whole lot of blessings, but            a lot of their problems. But as we put              @FLVanderSloot
prosperity, in itself, will not bring           our efforts into building prosperity, it
happiness. When people look to us for           can get so exciting that we can easily
money, I think it is our responsibility         get out of balance. It is important to
to say, “We can introduce you to the            remind ourselves that prosperity is




                                                                                                            JULY 2020 | MELALEUCA.COM   3
Case 8:20-cv-01743-KKM-TGW   Document 1-5      Filed 07/28/20   Page 4 of 15 PageID 102




 Presidential Directors        Corporate Directors 6                 National Directors 9
 Maureen & Jeff Miller          Aaron & Erin Clark                 Art & Kimberly McCauley




  National Directors 9          Executive Directors 6                Executive Directors 9
Steve & Jennifer Morgan       Jason & Shawna Lambert              Kristin & Kristian Hoenicke




  National Directors 5          National Directors 7                Executive Directors 9
  Jen & John Sebbas             Suzy & Steve Maier                Graham & Courtney Martin
Case 8:20-cv-01743-KKM-TGW   Document 1-5            Filed 07/28/20             Page 5 of 15 PageID 103




  National Directors 7          National Directors                                       Executive Directors 9
 Seville & Rachaell Ko       Makenzie & Steven Schultz                                    Tanya & Neil Hagre




 Executive Director 9          Executive Directors 9                                       National Directors
   Melinda Lough               Doug & Sabrina Ellis                                        Lisa & Greg Carter




                                Presenting the President’s Club Earners for 2020!
                                Although they weren’t able to share the same stage, the energy and excitement
                                of achieving President’s Club could not be dimmed. Only the 14 highest-performing
                                businesses, along with advancing Corporate and Presidential Directors honored
                                at Virtual Convention 2020, can qualify for this coveted award. They represent the
                                hardworking leadership who not only believe in themselves but instill belief
                                in everyone around them. Together they will celebrate their success, strengthen
                                friendships, and share advice as they enjoy an unforgettable, world-class trip with
                                members of Melaleuca management.




  National Directors            These results are not typical. Please consult
 Bonnie & Jeff Wright           the Annual Income Statistics on page 52 for typical results.
         Case 8:20-cv-01743-KKM-TGW                                 Document 1-5                   Filed 07/28/20                  Page 6 of 15 PageID 104



                                                                PAGE
                                                                              2020 Marketing Executives of the Year
                                                              14              Kimberly and Art McCauley


CONTENTS
               J U L Y    2 0 2 0




Meet Our 2020 Marketing
Executives of the Year........................... 14
National Directors 9 Kimberly and
Art McCauley know firsthand how
Melaleuca can transform lives. Learn
how their Melaleuca journey helped
them change lives and earn Marketing
Executives of the Year.



STORIES:


Maria Mosca: How to Grow Your
Business with Your Contact List......... 23

A Bedtime Story with RestEZ.............. 32

New Sei Bella® Vitamin C Collection. 34

PURE™ Blue Heat Roll-On Massage
Helps You Make a Comeback............. 40




                                                       SENIOR VICE PRESIDENT OF                       GETTING STARTED AS YOU                          ACCESS®: THE POWER
                                                        SALES DARRIN JOHNSON                           BUILD YOUR BUSINESS                            TO BURN FAT FASTER
                                                       When short-term motivation isn’t enough           Finding all the valuable resources for      When your body’s natural processes
                                                        to help you reach your goals, it’s time        success at Melaleuca is just a click away.       stop your ability to burn fat, use
                                                         to pick up some inspiration instead!             Learn more about how the Getting          Access to take off the brakes! Find out
Melaleuca is experiencing incredible
                                                                                                        Started section on Melaleuca.com can          how Dr. Larry Wang developed the
growth—which means we had so                                                                                                                        revolutionary formula in Access to help
                                                                                                        help you at any stage of your business.
many advancements we couldn’t                                                                                                                         others reach their weight loss goals.
fit them in our regular July 2020
Leadership in Action magazine! An
                                                                       PAGE                                             PAGE                                       PAGE


                                                                      10                                              29                                         38
incredible 64 businesses advanced to
Executive Director and above! See the
accompanying advancement edition
to learn from these high-achieving
leaders, including our new Corporate
Directors 6 Erin and Aaron Clark.
                                                                                                  VISIT MELALEUCA.COM FOR MORE INFORMATION
                               TEAM,
  Case 8:20-cv-01743-KKM-TGW
                   WHAT                                 Document 1-5               Filed 07/28/20    Page 7 of 15 PageID 105
                              DID WE
                              LEARN?




                                                                         GETTING THE MOST
                                                                         OU T OF THIS ISSU E
Leadership in Action is more than reading material—it’s an empowering development tool for you and your team!
After reading this issue, turn education into action. Below you’ll find questions that you can ask yourself or use
to engage your team in discussions to help everyone reach their goals.

TOPICS FOR THOUGHT                                                                            NOTES


EXECUTIVE MESSAGES
Prosperity does not equal happiness! As you read Frank’s message this month, take
time to reflect on what truly makes you happy. Explore what Frank’s idea of having
total wellness means to you, and identify areas of wellness you can improve.
If you’re struggling to find motivation, seek for inspiration! Follow Darrin’s advice
to answer his inspirational questions and write down your goals. Share your answers
with your team or an accountability partner.


  MAIN MESSAGE
››
   There’s no doubt about it—National Director 9 Kimberly McCauley knows how to
   leverage all the tools at Melaleuca to create a successful business and help others.
   What habits does she have that you could implement? Share your ideas with an
   accountability partner.

     B
› ›  USINESS COACHING AND MINDSET
      Your contact list is the life of your business! In the article on page 23,              QUESTION OF THE MONTH
      National Director 7 Maria Mosca shares tips for creating a healthy contact list.
      Share her advice in your next Strategy Session.                                         How are you staying accountable and
   Whether you’re new to Melaleuca or you’re helping a new business builder,                  consistent this summer? Share your ideas
   use Getting Started on Melaleuca.com to help your reach your goals.                        with us at LIA@melaleuca.com.
   Use this resource in your next Strategy Session.

  P R O D U C T E D U C A T I O N A N D W E L L N E S S
››
   Catching Zs with the help of RestEZ is now better than ever! Share what you
   learn about the new triple-action RestEZ formula on page 32 with your team.
   The next time you share Sei Bella Skin Care with someone, use the article
   on page 34 to share how the new Vitamin C Collection can improve the
   appearance of their skin.
   The groundbreaking technology of Access has helped many burn fat faster
   and reach their weight loss goals. Use the article on page 38 in your next team
   meeting to help others understand the exclusive science behind Access.
   Soothe aches and pains with PURE Blue Heat Roll-On Muscle Massage.
   Learn the benefits of this new product from National Director 9 Jason Paulin
   and share what you learn with your team.




                                                                                           ABedtimeStory                         PAGE


                                                                                                    with RestEZ                32
         Case 8:20-cv-01743-KKM-TGW                  Document 1-5            Filed 07/28/20             Page 8 of 15 PageID 106


                      M AY 2 02 0


                      EXECUTIVE
                      LEADERSHIP COUNCIL



     1                              2                                    3                                     4
    Erin & Aaron Clark              Kimberly & Edward                    Art & Kimberly                       Rachaell & Seville Ko
    MISSOURI                        Satterwhite                          McCauley                             KANSAS
                                    GEORGIA                              IDAHO


    MELALEUCA LIFETIME EARNINGS:    MELALEUCA LIFETIME EARNINGS:         MELALEUCA LIFETIME EARNINGS:         MELALEUCA LIFETIME EARNINGS:


    $3,805,539                      $1,016,503                           $1,678,275                           $1,045,138




    5                               6                                    7                                     8
    Adrienne & Michael              Jefferson Green                      Rainbow Lackey                       Sean & Geneveve Sykes
    Sifontes                        GEORGIA                              ARIZONA                              FLORIDA
    GEORGIA


    MELALEUCA LIFETIME EARNINGS:    MELALEUCA LIFETIME EARNINGS:         MELALEUCA LIFETIME EARNINGS:         MELALEUCA LIFETIME EARNINGS:


    $1,365,341                      $3,576,988                           $834,105                             $510,879
                                                        All Executive Leadership Council (ELC) calculations are based on Preferred Member
                                                                                             growth from US and Canadian customers only.
8    JULY 2020 | MELALEUCA.COM       These results are not typical. Please consult the Annual Income Statistics on page 52 for typical results.
    Case 8:20-cv-01743-KKM-TGW                             Document 1-5                  Filed 07/28/20          Page 9 of 15 PageID 107




              The Executive Leadership Council is composed of the top Presidential, Corporate, National, or Executive Director
                businesses with the highest contribution index and a current Monthly Retention Index (MRI) of 50% or more.
                  The contribution index is the product of the net increase in an organization’s Preferred Members during
                the prior 60 days, multiplied by the number of each Presidential, Corporate, National, or Executive Director’s
                      Personal Enrollee Advancement Factor (the same factor found within President’s Club criteria).
                          Council membership is reviewed monthly. At least five positions are reserved for Masters.




9                                       10                                         11                                 12            M ASTE RS




Makenzie & Steven                        Vincent Ferrazzano                       Ashley & Brandon Olive              Jeff & Maureen Miller
Schultz                                  GEORGIA                                  TEXAS                               FLORIDA
IOWA


MELALEUCA LIFETIME EARNINGS:             MELALEUCA LIFETIME EARNINGS:             MELALEUCA LIFETIME EARNINGS:        MELALEUCA LIFETIME EARNINGS:


$611,115                                 $748,066                                 $1,207,120                          $24,846,576




13            M AST ER S                14             MASTE R S                  15            M AST ERS             16            M ASTE RS




Jen & John Sebbas                        Michael Ivery                            Teresa & Ed Bestoso                 Yeison Ramirez
MICHIGAN                                 TEXAS                                    FLORIDA                             FLORIDA




MELALEUCA LIFETIME EARNINGS:           MELALEUCA LIFETIME EARNINGS:               MELALEUCA LIFETIME EARNINGS:        MELALEUCA LIFETIME EARNINGS:


$1,797,656                             $1,858,151                                 $50,478,855                         $2,488,561

          Masters are those Executive, National, Corporate, and Presidential Directors
          who have been Senior Directors or above for five or more years.
                                                                                                                      JULY 2020 | MELALEUCA.COM      9
 LIVE
       Case 8:20-cv-01743-KKM-TGW                           Document 1-5   Filed 07/28/20   Page 10 of 15 PageID
                                                                  108




                        DARRIN JOHNSON
                        Senior VP of Sales

                           @darrinToGo
                           @darrinjohnson1


As leaders, isn’t one of our biggest challenges to keep our teams
motivated? We are bombarded with an overwhelming amount
of data and distractions. To keep motivated, we create short-term
rewards to keep motivation high. At Melaleuca, we offer monthly
promotions and Compensation Plan bonuses to reward the desired
behaviors and to keep our teams motivated.
But if we’re honest with ourselves, isn’t staying motivated
as a leader one of the biggest challenges we face too?
Maybe there’s a better way. Instead of putting all of our
mental and physical resources into finding motivation,
what if we focused on inspiration?
Here’s the difference: Motivation rewards external behavior
and outcomes. Motivational speeches and presentations help us
feel intense emotional motivation in the moment, but they rarely
result in any long-term behavioral change. When I was vice
president of medical sales for a Fortune 100 pharmaceutical
company, I invited numerous motivational speakers to speak at
our annual national sales meetings. Unfortunately, I never saw any
change in behavior as a result of any of the motivational speeches.
Dozens of published social-science research confirmed what
I experienced: motivation is, at best, short term and fleeting.




10   JULY 2020 | MELALEUCA.COM
Case 8:20-cv-01743-KKM-TGW   Document 1-5    Filed 07/28/20           Page 11 of 15 PageID
                                   109
                                       Inspiration, on the other hand, taps into an internal drive that can
                                       only be described as “grit.” Inspiration reaches into our soul and
                                       influences our decisions—and often we are completely unaware that
                                       it’s happening. As leaders, we can change even more lives when
                                       we help others feel inspired. When we are inspired, we act because
                                       we feel a deep connection to the end result. When we are inspired,
                                       we find the courage to move even when our comfort zone
                                       is begging us to stay still.

                                       Finding inspiration is becoming more demanding thanks to
                                       advancements in technology. We’ve never communicated with
                                       more speed, and we’ve never processed more information in human
                                       history. But more information means more distractions. As a result,
                                       we’re losing the chance to think on a deeper level, the kind of level
                                       that leads to true inspiration. In my role at Melaleuca, I often think
                                       about what could be accomplished if leaders like you lived more
                                       inspired lives.

                                       What if you could have more inspiration in your life? What if
                                       you could lead a team that was driven to do more? How can you
                                       begin to find goals that genuinely inspire you? It’s simple—
                                       write them down.

                                       At Melaleuca’s virtual Convention a few weeks ago, we had
                                       a power-packed agenda addressing how Melaleuca products
                                       and our incomparable Compensation Plan change lives.
                                       However, for me, the most powerful moment of the event was
                                       when we asked attendees to write down their answers to four
                                       simple yet profound questions.

                                       And even though we are surrounded by more digital technology
                                       than ever, we encouraged participants to take a pen and a piece
                                       of paper and write. We promised that when they took this one
                                       simple step, they would have a personalized game plan that
                                       could transform their businesses and their lives.
                                                                                             Continued >>




                                       Better Habits
                                       I happened to love this part of our Convention
                                       because of the overwhelming social-science
                                       research that exists backing up the remarkable
                                       power of writing down the answers to these
                                       four questions:

                                       1. What is your goal?

                                       2. Why is your goal so important to you?

                                       3. What actions will you take consistently
                                          to reach your goal?

                                       4. Who is your accountability partner?

                                                                            JULY 2020 | MELALEUCA.COM      11
         Case 8:20-cv-01743-KKM-TGW                     Document 1-5           Filed 07/28/20                   Page 12 of 15 PageID
                                                              110
Writing about Your Goal
Changes You
Research by Virginia Berninger, a professor at the University
of Washington, shows that writing by hand (especially in cursive)
activates large sections of the brain. In contrast, typing or texting
enables only one part of the brain. Handwriting forces your mind
to slow down and exert more effort to truly understand the concept
being expressed. Psychologist Daniel Oppenheimer says that when
we write, we are sending a signal to the brain of its importance,
which accentuates the inspiration process.

Writing down your goals also gives your subconscious brain the
space to connect the dots between your goals and the habits you
need to develop to reach them. Because you’re inspired, you’re more
apt to be “in the zone” as you’re taking the steps needed to reach
your desired outcome.

In the Melaleuca Enhancing Lives Facebook group, hundreds
of Marketing Executives were courageous enough to post pictures
of the four questions posed at Convention 2020 and their answers.
See if you can notice how the power in the handwritten answers
transcends anything you might find in a digital document.
These game plans stir the soul and foster true inspiration
in ways a digital report simply can’t do.

     Director 6                                                         Director
     ASHELIE SKALICKY                                                   JANET MORRISON




12    JULY 2020 | MELALEUCA.COM                                          Results vary. For typical results, please consult the Annual Income Statistics on page 52.
Case 8:20-cv-01743-KKM-TGW       Document 1-5        Filed 07/28/20   Page 13 of 15 PageID
                                       111




                                    Here’s My Challenge to You
                                    Over the next 30 days, practice keeping a journal.
                                    Write in it morning and night. Keep a log of your
                                    thoughts and ideas during the day. At least every 90
                                    days, write down your answers to the four questions
                                    listed on the opening spread of this article. When
                                    you do, enjoy how your brain helps you find true
                                    inspiration that awakens your drive to take actions.

                                    It’s time to live inspired!




                             Director 9
                             MEGAN SCHIEMER




                                                                         JULY 2020 | MELALEUCA.COM   13
       Case 8:20-cv-01743-KKM-TGW   Document 1-5   Filed 07/28/20   Page 14 of 15 PageID
                                          112




14   JULY 2020 | MELALEUCA.COM
      Case 8:20-cv-01743-KKM-TGW                        Document 1-5            Filed 07/28/20           Page 15 of 15 PageID
                                                              113




                                                                               2020
                                                                Marketing Executives
                                                                    of the Year




                                                      A R T & K I M B E R LY M C C A U L E Y


                                                      Maybe it’s her tough, can-do attitude. Maybe it’s her relentless
                                                      work ethic and honest feedback. Or maybe it’s because behind the
                                                      neon-pink hair and no-excuses expectations, National Director 9
                                                      Kimberly McCauley cares deeply for the success of everyone on
                                                      her team. Whether you’re looking at her tenacious work ethic or
                                                      her big heart for helping others, it’s clear that Kimberly deserves
                                                      to be the 2020 Marketing Executive of the Year.




                                                           “It’s been an honor to be Kim’s enroller. She’s done a ton
                                                           of growing. I think that she wanted Marketing Executive
                                                           of the Year more than anything just to prove that she could do
                                                           it. And I think that by doing so she shatters a lot of ceilings
                                                           to prove to other people that they can do it too. She’s one in a
                                                           million and I’m so proud of her!”
                                                                                              —Corporate Director 6 Erin Clark




These results are not typical. Please consult the Annual Income Statistics on page 52 for typical results.   JULY 2020 | MELALEUCA.COM   15
